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                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE                   DWDP
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                                              )
        v.                                    )        No. 3:11-00188-2
                                              )        Judge Sharp
                                              )
SERGIO BARRAZA-PINERA                         )

                      MOTION TO CONTINUE SENTENCING HEARING

       Comes now the defendant, by and through counsel, and hereby moves the Court to

continue the sentencing hearing in this case which is currently set for October 5, 2012. In support

of this motion defendant would state and show that counsel for the defendant is scheduled to be

out of state on annual leave from October 3rd through the 5th with airline tickets paid for and

hotel reservations made.

       Counsel has spoken with Assistant United States Attorney Alex Little who advises that he

has no objection to the requested continuance. Counsel would ask that the sentencing hearing be

re-set to Friday, October 12, 2012.


                                             Respectfully submitted,

                                             s/ Sumter L. Camp
                                             SUMTER L. CAMP
                                             Assistant Federal Public Defender
                                             Attorney for Defendant
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                                             Nashville, TN 37203
                                             615-736-5047




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